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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

JOSE MARIA DECASTRO,                              :
                                                  :   Case No. 1:22-cv-204
                       PLAINTIFF,                 :
                                                  :
       v.                                         :   JUDGE BARRETT
                                                  :
PAM WAGNER, et al.,                               :   MAGISTRATE JUDGE BOWMAN
                                                  :
                       DEFENDANTS.                :


       LAWRENCE COUNTY DEFENDANTS’ RESPONSE IN OPPOSITION TO
           PLAINTIFF’S MOTION FOR LEAVE TO FILE RESPONSE


       This pro se action was filed on April 22, 2022. (Doc. #: 1). On May 11, 2022, Defendants

Lawrence County, Major Chapman, and Jane Doe (hereinafter, “Lawrence County Defendants”)

filed a Motion to Dismiss for failure to state a claim pursuant to Fed.R.Civ.P. 12(b)(6). (Doc. #:

8).

       S.D. Ohio Civ.R. 7.2(a)(2) provides that a memorandum in opposition “shall be filed within

twenty-one (21) days after the date of service of the motion.” However, more than 21 days elapsed

from the date of service of the Lawrence County Defendants’ motion, and Plaintiff failed to file a

response. Thereafter, on June 29, 2022, this Court’s Order to Show Cause (Doc. #: 16) provided

the following, in pertinent part:

               Plaintiff is hereby ORDERED TO SHOW CAUSE, in writing on
               or before July 22, 2022, why Defendants Lawrence County, Major
               Chapman and Jane Doe’s motion to dismiss (doc. 8) should not be
               construed as unopposed and granted for the reasons stated. Plaintiff
               may also satisfy the requirements of this Order by filing a responsive
               memorandum to Defendants’ motion by the July 22, 2022 deadline.

               Failure to timely comply with this Order will result in the pending
               motion being granted as unopposed for the reasons stated therein.
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          Plaintiff failed to file a response to this Court’s Order to Show Cause or file a responsive

memorandum to the Lawrence County Defendants’ motion to dismiss by July 22, 2022.

          On August 11, 2022, Plaintiff filed a Response to this Court’s Order to Show Cause. (Doc.

#: 18). The aforesaid Response provided that Plaintiff, until July 27, 2022, did not receive any

filings in this matter. (Doc. #: 18, ¶ 2). Plaintiff claims that “[o]n July 28, 2022, Plaintiff received

this court’s order to show cause, Dkt. #17, as the first item he has received from anyone relating

to this action.” (Doc. #: 18, ¶ 4). As a result, Plaintiff requested that the case not be dismissed and

to be granted the “opportunity to pursue his case on the merits.” (Doc. #: 18, ¶ 6).

          On August 15, 2022, this Court’s Order granted Plaintiff a 30-day extension, from the date

of the Order, to respond to the Lawrence County Defendants’ Motion to Dismiss and the City of

Ironton Defendants’ Motion for Judgment on the Pleadings. (Doc. #: 19). The aforesaid Order also

rescinded the June 29 and July 21, 2022 Orders to Show Cause. (Doc. #: 19).

          Plaintiff was required, per the Order dated August 15, 2022, to file his responses to

Defendants’ pending dispositive motions or file an amended complaint by September 14, 2022.

One day after this deadline, Plaintiff filed an Amended Complaint. (Doc. #: 20). Five days later,

on September 20, 2022, a Motion to Dismiss was filed by the Lawrence County Defendants. (Doc.

#: 21).

          Plaintiff once again failed to timely response, and on October 24, this Court entered an

Order to Show Cause ordering Plaintiff to show cause, in writing, on or before November 17,

2022, as to why the Lawrence County Defendants’ Motion to Dismiss should not be construed as

unopposed and granted for the reasons stated. (Doc. #: 25). The Order further provided that

“Plaintiff may also satisfy the requirements of this Order by filing a responsive memorandum to




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Defendants motion by the 11/17/2022 deadline. Failure to timely comply with this Order will result

in the pending motion being granted as unopposed for the reasons stated therein.” (Doc. #: 25).

         On December 6, 2022, this Court’s Order granted Defendants’ Motion to Dismiss and

“closed and terminated” this case from the Court’s active docket. (Doc. #: 27). On December 7,

Plaintiff filed a Motion for Leave to File Response Two Days Late. (Doc. #: 29). Attached to the

Motion for Leave is Plaintiff’s Response in Opposition to Defendants’ Motion for Judgment on

the Pleadings.1 (Doc. #: 29-1). For the reasons set forth below, Defendants respectfully request

this Court deny Plaintiff’s Motion for Leave to file a response in opposition.

         I.       Plaintiff’s Motion For Leave Should Be Denied Because A 2-Day Extension
                  Fails To Meet The Deadlines Set Forth In The Orders To Show Cause.

         Plaintiff’s Motion for Leave (Doc. #: 29) claims that he is making a “request for a 2-day

enlargement of time to file his Response to Defendant’s Motion for Judgment on the Pleadings

and which also answers the Order to Show Cause DOC# 20.” (Doc. #: 29, PAGEID #: 229).

Plaintiff further avers that he “sent his Response to Defendant’s Motion for Judgment on the

Pleadings to his process server for filing and they arrived at the Court late for filing in person on

Monday December 5th, which is within the deadline for responding.” (Doc. #: 29, PAGEID #:

230). However, the Orders to Show Cause required Plaintiff to respond to the Lawrence County

Defendants’ Motion to Dismiss by November 17, 2022 (Doc. #: 25), and respond to the City of

Ironton Defendants’ Motion for Judgment on the Pleadings by November 30, 2022 (Doc. #: 26).

Therefore, Plaintiff’s request for a “2-day enlargement” fails to meet the deadlines set forth in the



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  Plaintiff’s Response in Opposition notes that “[a]lthough Defendants filed a Motion to Dismiss, an Answer, and a
Motion for Judgment on the Pleadings in response to Plaintiff’s First Amended Complaint, this filing is responsive to
all three of the aforementioned documents.” (Doc. #: 29-1). Plaintiff’s Certificates of Service only set forth counsel
for the Ironton City Defendants. (Doc. #: 29, 29-1). However, the Ironton City Defendants filed the Motion for
Judgment on the Pleadings, and the Lawrence County Defendants filed the Motion to Dismiss. Thus, because it is
unclear whether the Response in Opposition is directed towards the Lawrence County Defendants, the undersigned
counsel believes it is appropriate to respond to Plaintiff’s Motion for Leave.


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Orders to Show Cause.

       II.     Plaintiff’s Motion For Leave Should Be Denied Because He Has Failed To
               Establish Excusable Neglect.

       Plaintiff’s Motion for Leave claims that his “delay in filing Plaintiff’s Response in

opposition to the Motion to Dismiss is due to excusable neglect and was not intentional.” (Doc. #:

29, PAGEID #: 229). Plaintiff further claims that he “has acted in good faith but has been hindered

in that he has not received 2 of the 3 Orders to Show Cause, which resulted in delayed responses

from Plaintiff to this Court.” (Doc. #: 29, PAGEID #: 230).

       In this case, all documents filed by the Lawrence County Defendants have been mailed to

Plaintiff at 1258 Franklin Street, Santa Monica, California 90404. The aforesaid address is what

was provided, by Plaintiff, for service in this case and in his Response to this Court’s Order to

Show Cause. (Doc. #: 18). See Robb v. Smallwood, 165 Ohio App.3d 385, 165 Ohio App.3d 385,

2005-Ohio-5863, ¶ 12 (“[A]ppellant received proper service because the clerk sent the hearing

notice to his address of record in Athens, Ohio.”). Although pro se litigants “are held to less

stringent standards” (Jourdan v. Jabe, 951 F.2d 108, 110 (6th Cir. 1991)), they “are not exempt

from the requirements of the Federal Rules of Civil Procedure” (Pleasant-Bay v. Shelby Cnty.

Govt., No. 2:17-cv-02502-TLP-tmp, *4 (W.D. Tenn. 2019)). If Plaintiff was aware that he was not

receiving all filings in this case, he could have easily contacted the Clerk of Courts to inquire about

filings in this matter. See Fox v. Wofford, No. 5:14-CV-00231-TBR, *4 (W.D. Ky. 2016) (citing

Casimir v. Sunrise Fin., Inc., 299 F. App’x 591, 593 (7th Cir. 2008) (“[A]ll litigants, including pro

se litigants, are responsible for maintaining communication with the court and monitoring the

status of their lawsuit as necessary.”)). See also Soliman v. Johanns, 412 F.3d 920, 922 (8th Cir.

2005) (“[A] litigant who invokes the processes of the federal courts is responsible for maintaining




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communication with the court during the pendency of his lawsuit.”). However, Plaintiff has

continually shown that he will not abide by the deadlines imposed by this Court.

       In Jourdan v. Jabe, 951 F.2d 108 (6th Cir. 1991), the Sixth Circuit Court of Appeals held

the following:

                  [The case is not being] dismissed as a result of inartful pleading or
                 any lack of legal training, but rather because he failed to adhere to
                 readily comprehended court deadlines of which he was well-aware.
                 That he comprehended their significance is evidenced by his having
                 sought their extension. The district court was generous in granting
                 extensions which Jourdan failed to utilize.

Id. at 110. The Court went on to hold that “[a]lthough this court prefers that claims be adjudicated

on their merits, dismissal is appropriate when a pro se litigant has engaged in a clear pattern of

delay.” Id. (citing Holt v. Pitts, 619 F.2d 558, 562 (6th Cir. 1980)). Thus, the case merited dismissal

because Jourdan failed to pursue his case despite two extensions of time. Id.

       Likewise, in the case before this Court, Plaintiff has been given multiple extensions beyond

the twenty-one days permitted in S.D. Ohio Civ.R. 7.2(a)(2) to file a memorandum in opposition

to the Lawrence County Defendants’ Motion to Dismiss. (Doc. #: 16, 19, 25). Plaintiff has

“engaged in a clear pattern of delay” by failing to comply with multiple orders of the Court. Thus,

dismissal was appropriate. See Malott v. Haas, Civil Action No. 16-13014, *6 (E.D. Mich. 2017).

Accordingly, for the reasons set forth above, Defendants respectfully request this Court deny

Plaintiff’s Motion for Leave.


                                                       Respectfully Submitted,

                                                       /s/ Cassaundra L. Sark
                                                       Cassaundra L. Sark (0087766)
                                                       Counsel for Lawrence County Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the Lawrence County Defendants’

Response in Opposition to Plaintiff’s Motion for Leave to File Response was provided via the

Court’s electronic filing system (CM/ECF) on the 13th day of December 2022 and mailed, postage

prepaid, via USPS, to the following:

Jose Maria DeCastro
1258 Franklin Street
Santa Monica, CA 90404

                                                  /s/ Cassaundra L. Sark
                                                  Cassaundra L. Sark (0087766)
                                                  Counsel for Lawrence County Defendants




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